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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     EDILIO NAVARRO
6
7
8                                         UNITED STATES DISTRICT COURT
9                                         EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       )   Case No. 2:12-cr-310 TLN
11                                                   )
                                  Plaintiff,         )   STIPULATION AND ORDER TO
12                                                   )   RESCHEDULE CHANGE OF PLEA ON JULY
            v.                                       )   2, 2015, AT 9:30 A.M.
13                                                   )
     EDILIO NAVARRO,                                 )   Date   June 25, 2015
14                                                   )   Time: 9:30 a.m.
                                  Defendant.         )   Judge: Hon. Troy L. Nunley
15                                                   )
                                                     )
16
17            The parties stipulate, through respective counsel, that the Court should reschedule this
18   case for change of plea on July 2, 2015, at 9:30 a.m.
19            Counsel for Mr. Navarro sent notice Monday, June 22, that Mr. Navarro had accepted a
20   plea agreement tendered by the government, and that Mr. Navarro intended to change his plea to
21   guilty on June 25. Since that notice, counsel for Mr. Navarro has received notice that he must
22   appear in Marin County Family Court on June 25 for an “emergency” hearing.
23            For these reasons, counsel and the defendant agree that the Court should exclude the time
24   from the date of the parties’ stipulation dated June 23, 2015, through July 2, 2015, when it
25   computes the time within which trial must commence under the Speedy Trial Act, pursuant to 18
26   U.S.C. §§ 3161(h)(7)(A) & (B)(iv), and Local Code T4. Taking such action will preserve Mr.
27   Navarro’s statutory right to continuity of counsel.
28

      Stipulation and Order to Continue                  -1-                                 2:12-cr-310 TLN
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1             Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3
     DATED: June 23, 2015                           HEATHER E. WILLIAMS
4                                                   Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
                                                    Assistant Federal Defender
7
     DATED: June 23, 2015                           BENJAMIN B. WAGNER
8                                                   United States Attorney
9
                                                    /s/ M.Petrik for_______
10                                                  SAMUEL WONG
                                                    Assistant U.S. Attorney
11
12
                                                  ORDER
13
              The Court, having received, read, and considered the stipulation of the parties, and good
14
     cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
15
     that the failure to grant a continuance in this case would deny the defendant continuity of
16
     counsel. The Court finds that the ends of justice served by granting the continuance outweigh
17
     the best interests of the public and defendant in a speedy trial.
18
              The Court orders the change of plea hearing rescheduled for July 2, 2015, at 9:30 a.m.
19
     The Court orders the time from the date of the parties stipulation, up to and including July 2,
20
     2015, excluded from computation of time within which the trial of this case must commence
21
     under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) & (B)(iv), and Local Code
22
     T4.
23
     DATED: June 23, 2015
24
25
26                                                           Troy L. Nunley
                                                             United States District Judge
27
28

      Stipulation and Order to Continue               -2-                                     2:12-cr-310 TLN
